                          Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 1 of 21


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Party City Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed          Halloween City
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  100 Tice Blvd.
                                  Woodcliff Lake, NJ 07677
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Bergen                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.partycity.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                          Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 2 of 21
Debtor    Party City Corporation                                                                    Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               4532

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy             No.
     cases filed by or against
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a                        Southern District of
     separate list.                             District   Texas                        When      1/17/23                    Case number   23-90010
                                                District                                When                                 Case number




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                           Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 3 of 21
Debtor    Party City Corporation                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Schedule I.                                              Relationship               Affiliate
                                                                Southern District of
                                                    District    Texas                       When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                            Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 4 of 21
Debtor   Party City Corporation                                                          Case number (if known)
         Name


16. Estimated liabilities        $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                                 $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
                         Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 5 of 21
Debtor    Party City Corporation                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       12/21/2024
                                                  MM / DD / YYYY


                             X     /s/ Deborah Rieger-Paganis                                             Deborah Rieger-Paganis
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ John F. Higgins                                                         Date   12/21/2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 John F. Higgins
                                 Printed name

                                 Porter Hedges LLP
                                 Firm name

                                 1000 Main Street, 36th Floor
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 226-6000                Email address      jhiggins@porterhedges.com

                                 09597500 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
         Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 6 of 21




                                             Schedule I

                                         Affiliated Entities

        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101 et seq. Contemporaneously with the filings of these petitions, such
entities filed a motion requesting joint administration of their chapter 11 cases.



Party City Holdco Inc.
Amscan Inc.
Am-Source, LLC
Party City Corporation
Party City Holdings Inc.
PC Intermediate Holdings, Inc.
Trisar, Inc.



                                    Prior Case Pending in this Court

23-90005 Party City Holdco Inc.
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 7 of 21




                                      Omnibus Resolutions
                              of the Respective Governing Bodies
                              of the Party City Group Companies

                                       December 20, 2024

                WHEREAS, (i) each of Party City Holdco Inc., Party City Corporation, Party City
Holdings Inc., and PC Intermediate Holdings, Inc. (collectively, the “Delaware Corporations”) is
a Delaware corporation managed by a board of directors (collectively, the “Delaware Boards”),
(ii) Amscan Inc. (“Amscan”) is a New York corporation managed by a board of directors (the
“Amscan Board”), (iii) Am-Source, LLC (“Am-Source”) is a Rhode Island limited liability
company managed by its sole member (the “Am-Source Member”), and (iv) Trisar, Inc. (“Trisar”)
is a California corporation managed by a board of directors (the “Trisar Board”);

               WHEREAS, the Delaware Corporations, Amscan, Am-Source, and Trisar are
referred to herein collectively as the “Party City Group Companies” and each individually as a
“Party City Group Company,” and the Delaware Boards, Amscan Board, Am-Source Member,
and Trisar Board are referred to herein collectively as the “Governing Bodies” and each
individually as the “Governing Body” in respect of its applicable Party City Group Company;

                WHEREAS, each Governing Body has reviewed and considered the financial and
operational condition of their respective Party City Group Company and of the Party City Group
Companies as a whole, including (which word, for all purposes of these resolutions, shall be
interpreted to be followed by the words, “without limitation”) the historical performance of the
Party City Group Companies, the assets of the Party City Group Companies, the current and long-
term liabilities of the Party City Group Companies, and relevant industry and credit market
conditions, and have considered various alternatives in respect of such matters;

                WHEREAS, each Governing Body has received, reviewed, and considered the
recommendations of, and the materials presented by, the senior management of its applicable Party
City Group Company and such Party City Group Company’s legal, financial, and other outside
professional advisors as to the financial condition of the Party City Group Companies and the
relative risks and benefits of pursuing a case under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”);

               WHEREAS, each Governing Body reasonably believes that its applicable Party
City Group Company’s pursuing a case under the Bankruptcy Code on a coordinated basis with
the other Party City Group Companies is expected to preserve more value for such Party City
Group Company and its stakeholders than any other available alternative;

                 WHEREAS, having determined that the following actions are desirable and in the
best interests of the Party City Group Companies and their stakeholders, the Governing Body of
Party City Holdco Inc. previously resolved at a meeting held on December 5, 2024 to (i) authorize
Party City Holdco Inc. to enter into an agreement (the “CRO Agreement”), on behalf of itself and
certain of its subsidiaries, with APS Services, LLP (“Alix”) in order for Alix to make its personnel
available to provide certain management services to the Party City Group Companies, (ii) create
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 8 of 21




the office of Chief Restructuring Officer of Party City Holdco Inc. (the “CRO”), and (iii) appoint
Ms. Deborah Rieger-Paganis as CRO;

                WHEREAS, the intention of each Governing Body with respect to its applicable
Party City Group Company is to (i) use the Bankruptcy Code to implement an orderly wind down
of its business and liquidation of its assets to maximize value for the benefit of each Party City
Group Company’s stakeholders and (ii) seek the use of cash collateral to fund such process;

               WHEREAS, the Governing Bodies have reviewed and considered the need for
Authorized Persons (as defined below) to take further actions to carry out the intent and purpose
of the following resolutions, perform the obligations of each Party City Group Company under the
Bankruptcy Code, and pay fees and expenses in connection with the transactions contemplated by
the below resolutions; and

                WHEREAS, the Governing Bodies have reviewed and considered certain actions
that may have previously been taken by any director, officer, employee, manager, member,
stockholder, general partner, or agent of any Party City Group Company in connection with or
related to the matter set forth in the below resolutions;

               NOW, THEREFORE, BE IT:

               1. Appointment of CRO

              RESOLVED, that each Governing Body other than the Governing Body of Party
City Holdco Inc., acting with respect to its applicable Party City Group Company, hereby ratifies
the Governing Body of Party City Holdco Inc.’s determination to create the office of CRO; and be
it further

              RESOLVED, that each Governing Body other than the Governing Body of Party
City Holdco Inc., acting with respect to its applicable Party City Group Company, hereby ratifies
the Governing Body of Party City Holdco Inc.’s entry into the CRO Agreement and authorizes the
Governing Body of Party City Holdco Inc. to take any and all actions to advance the Party City
Group Companies’ rights and obligations in connection therewith; and be it further

              RESOLVED, that each Governing Body other than the Governing Body of Party
City Holdco Inc., acting with respect to its applicable Party City Group Company, hereby ratifies
the Governing Body of Party City Holdco Inc.’s retention of Alix, consistent with the terms of the
CRO Agreement, to provide each of the Party City Group Companies with a CRO who shall be
Ms. Rieger-Paganis; and be it further

               RESOLVED, that each Governing Body other than the Governing Body of Party
City Holdco Inc., acting with respect to its applicable Party City Group Company, hereby ratifies
the Governing Body of Party City Holdco Inc.’s authorization of Alix to assign additional
personnel to support the CRO and the Party City Group Companies, to serve in various capacities
with the Party City Group Companies, and to perform other services required of Alix pursuant to
the CRO Agreement; and be it further
         Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 9 of 21




              RESOLVED, that each Governing Body other than the Governing Body of Party
City Holdco Inc., acting with respect to its applicable Party City Group Company, hereby appoints
Ms. Rieger-Paganis as CRO at such Party City Group Company; and be it further

                2. Bankruptcy Resolutions

                        a. Chapter 11 Filings

               RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby determines that it is desirable and in the best interests of such Party
City Group Company, its equity holders, its creditors as a whole, and other parties in interest that
such Party City Group Company file a voluntary petition for relief (the “Petition” and, together
with the similar petitions by all other Party City Group Companies, the “Petitions”) and commence
a case (collectively, the “Bankruptcy Cases”) under chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”); and
be it further

                 RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby authorizes, directs, and empowers any officer or other authorized
person of any of the Party City Group Companies, including the CRO (each, an “Authorized
Person”), acting in the name and on behalf of such Party City Group Company, to (i) execute and
verify the Petition as well as all other ancillary documents, and to cause the Petition to be filed
with the Bankruptcy Court, and to make or cause to be made prior to the execution thereof, any
modifications to the Petition or ancillary documents, and to (ii) execute, verify, and file or cause
to be filed all of the petitions, schedules, lists, and other motions, objections, replies, applications,
and other papers or documents advisable, appropriate, convenient, desirable, or necessary in
connection with the foregoing; and be it further

               RESOLVED, that in connection with the filing of the Petitions, each Governing
Body, acting with respect to its applicable Party City Group Company, hereby (i) authorizes and
directs the Authorized Persons, in the name and on behalf of such Party City Group Company, to
engage in discussions and negotiations with all stakeholders in order to prosecute the Bankruptcy
Cases, (ii) authorizes, adopts, and approves the form, terms, and provisions of, and is hereby
authorized and empowered to file with the Bankruptcy Court any motions, pleadings, and any
other documents to be performed or agreed to by such Party City Group Company that are
reasonably necessary for prosecution of and in connection with the proceedings of the Bankruptcy
Cases (collectively, the “Ancillary Documents”), and (iii) authorizes and directs the Authorized
Persons, in the name and on behalf of such Party City Group Company, to execute and deliver
(with such changes, additions, and modifications thereto as the Authorized Persons executing the
same shall approve, such approval to be conclusively evidenced by such Authorized Persons’
execution and delivery thereof) each of the Ancillary Documents to which such Party City Group
Company is a party and, upon the execution and delivery thereof by each of the other parties
thereto, cause such Party City Group Company to perform its obligations thereunder; and be it
further
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 10 of 21




                       b. Retention of Professionals

               RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby authorizes and directs each Authorized Person, in the name and on
behalf of such Party City Group Company, to employ certain individuals and/or firms as counsel,
professionals, consultants, accountants, restructuring advisors, or financial advisors to such Party
City Group Company as such Authorized Person, or any one of them, may deem advisable,
appropriate, convenient, desirable, or necessary to represent and assist such Party City Group
Company in carrying out its duties under the Bankruptcy Code, and in connection therewith, the
Authorized Persons be, and each of them hereby is, authorized and directed, in the name and on
behalf of such Party City Group Company, to execute appropriate retention agreements, pay
appropriate retainers prior to the filing of the Petition, and to cause to be filed appropriate
applications for authority to retain the services of such individuals and firms; and be it further

                RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby authorizes and directs each Authorized Person, in the name and on
behalf of such Party City Group Company, to employ the law firms of Paul, Weiss, Rifkind,
Wharton & Garrison LLP (“Paul, Weiss”) and Porter Hedges LLP (“Porter Hedges”) to represent
such Party City Group Company as chapter 11 counsel and to represent and assist such Party City
Group Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance such Party City Group Company’s rights, including the preparation of pleadings
and filings in the Bankruptcy Cases; and in connection therewith, the Authorized Persons be, and
each of them hereby is, authorized and directed, in the name and on behalf of such Party City
Group Company, to execute appropriate retention agreements, pay appropriate retainers prior to
and immediately upon the filing of the Petition, and to cause to be filed an appropriate application
for authority to retain the services of Paul, Weiss and Porter Hedges; provided, that any prior
actions taken in connection therewith are hereby ratified in their entirety; and be it further

                 RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby authorizes and directs each Authorized Person, in the name and on
behalf of such Party City Group Company, to employ Alix to represent such Party City Group
Company and provide consulting services to such Party City Group Company with regard to the
Bankruptcy Cases; and in connection therewith, the Authorized Persons be, and each of them
hereby is, authorized and directed, in the name and on behalf of such Party City Group Company,
to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Petition, and to cause to be filed an appropriate application for authority to
retain the services of Alix; provided, that any prior actions taken in connection therewith are hereby
ratified in their entirety; and be it further

                RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby authorizes and directs each Authorized Person, in the name and on
behalf of such Party City Group Company, to employ Kroll Restructuring Administration LLC
(the “Claims Agent”) to represent such Party City Group Company and provide notice and claims
agent services to such Party City Group Company with regard to the Bankruptcy Cases; and in
connection therewith, the Authorized Persons be, and each of them hereby is, authorized and
directed, in the name and on behalf of such Party City Group Company, to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 11 of 21




Petition, and to cause to be filed an appropriate application for authority to retain the services of
the Claims Agent; provided, that any prior actions taken in connection therewith are hereby ratified
in their entirety; and be it further

                RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby authorizes and directs each Authorized Person, in the name and on
behalf of such Party City Group Company, to employ A&G Realty Partners, LLC (the “Real Estate
Advisor”) to represent such Party City Group Company and provide real estate advisory services
to such Party City Group Company with regard to the Bankruptcy Cases; and in connection
therewith, the Authorized Persons be, and each of them hereby is, authorized and directed, in the
name and on behalf of such Party City Group Company, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Petition, and
to cause to be filed an appropriate application for authority to retain the services of the Real Estate
Advisor; provided, that any prior actions taken in connection therewith are hereby ratified in their
entirety; and be it further

               RESOLVED, that each Governing Body, acting with respect to its applicable Party
City Group Company, hereby authorizes and directs each Authorized Person, in the name and on
behalf of such Party City Group Company, to employ Gordon Brothers Retail Partners, LLC and
Gordon Brothers Commercial & Industrial, LLC (the “Store Closing Advisor”) to represent such
Party City Group Company and provide liquidation advisory services to such Party City Group
Company with regard to the Bankruptcy Cases; and in connection therewith, the Authorized
Persons be, and each of them hereby is, authorized and directed, in the name and on behalf of such
Party City Group Company, to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Petition, and to cause to be filed a motion seeking
authority to assume that certain Asset Disposition Consulting Agreement, dated as of
December 16, 2024, with the Store Closing Advisor; provided, that any prior actions taken in
connection therewith are hereby ratified in their entirety; and be it further

                3. Cash Collateral and Liquidation Process

               RESOLVED, that each applicable Governing Body, acting with respect to its
applicable Party City Group Company, hereby determines that such Party City Group Company
will obtain benefits from the use of cash collateral, as that term is defined in section 363(a) of the
Bankruptcy Code (the “Cash Collateral”), which is security for certain prepetition secured lenders
and noteholders (collectively, the “Secured Parties”) party to (i) that certain ABL Credit
Agreement, dated as of October 12, 2023, by and among Party City Holdings Inc. and Party City
Corporation, as borrowers, JPMorgan Chase Bank, N.A., as administrative agent, and the
guarantors party thereto from time to time, and (ii) the 12.00% Senior Secured Second Lien PIK
Toggle Notes due 2029 Indenture, dated as of October 12, 2023, among Party City Holdco Inc., as
issuer, Wilmington Savings Fund Society, FSB, as trustee, and the guarantors party thereto from
time to time; and be it further

                RESOLVED, that, each applicable Governing Body acting with respect to its
applicable Party City Group Company, hereby authorizes and directs each of the Authorized
Persons to (i) negotiate, execute, and deliver agreements, if applicable, for the use of cash collateral
in connection with the Bankruptcy Cases on terms substantially similar to those described or
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 12 of 21




provided (or to be described or provided) to the Board; (ii) pledge and grant liens on the Party City
Group Company’s assets as may be contemplated by or required under the terms of such cash
collateral use; or (iii) execute, deliver, verify, and/or file, or cause to be filed and/or executed,
delivered, or verified, and to amend, supplement, or otherwise modify from time to time, all
necessary and appropriate documents, including, without limitation, affidavits, schedules,
motions, pleadings, and other documents, agreements, and papers, postpetition financing
documents, and loan agreements (including any ancillary documents thereto) in such form as the
Authorized Persons may approve, and to take any and all actions that the Authorized Persons
determine advisable, necessary, or appropriate in connection with any postpetition cash collateral
usage contemplated hereby or thereby (such approval and the approval of the Board to be
conclusively evidenced by the execution thereof or taking of such action by the Authorized
Persons); and be it further

               RESOLVED, that each applicable Governing Body, acting with respect to its
applicable Party City Group Company, hereby determines that, to use and obtain the benefits of
the Cash Collateral, and in accordance with sections 363 and 364 of the Bankruptcy Code, such
Party City Group Company will provide certain adequate protection to the Secured Parties (the
“Adequate Protection Obligations”), and authorizes and directs such Party City Group Company,
as debtor and debtor in possession under the Bankruptcy Code, and each of the Authorized Persons,
to negotiate and incur the Adequate Protection Obligations and to undertake any and all related
transactions as in his or her reasonable discretion is determined to be necessary, desirable, or
appropriate in connection with providing such adequate protection; and be it further

                 RESOLVED, that each applicable Governing Body, acting with respect to its
applicable Party City Group Company, hereby authorizes, adopts, and approves the form, terms,
and provisions of the proposed order authorizing, among other things, the Party City Group
Companies’ use of the Cash Collateral (the “Interim Cash Collateral Order”) to which such Party
City Group Company is or will be subject and the actions and transactions contemplated thereby,
and each Authorized Person be, and hereby is, authorized and empowered, in the name of and on
behalf of such Party City Group Company, to take such actions and negotiate or cause to be
prepared and negotiated and to execute, deliver, perform, and cause the performance of, the Interim
Cash Collateral Order, and such other agreements, certificates, instruments, receipts, petitions,
motions, or other papers or documents to which such Party City Group Company is or will be a
party, including any security and pledge agreement or guaranty agreement, incur and pay or cause
to be paid all fees and expenses and engage such persons, in each case, in the form or substantially
in the form thereof presented to such Governing Body on prior to the adoption of this resolution,
with such changes, additions, and modifications thereto as an Authorized Person executing the
same shall approve, such approval to be conclusively evidenced by an Authorized Person’s
execution and delivery thereof; and be it further

               RESOLVED, that each applicable Governing Body, acting with respect to its
applicable Party City Group Company, hereby authorizes and directs each of the Authorized
Persons, in the name and on behalf of such Party City Group Company, to take all such further
actions, including to pay or approve the payment of appropriate fees and expenses payable in
connection with the Adequate Protection Obligations and appropriate fees and expenses incurred
by or on behalf of such Party City Group Company, which shall be in their sole judgment
necessary, proper, or advisable to perform any of such Party City Group Company’s obligations
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 13 of 21




under or in connection with the Interim Cash Collateral Order, any other documents related to the
provision of adequate protection, or any of the other ancillary documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

                RESOLVED, that, in the judgment of the Governing Body of each Party City
Group Company, it is desirable and in the best interest of each such Party City Group Company,
its creditors, and other parties in interest that each such Party City Group Company use the
Bankruptcy Cases to implement an orderly wind down of its business and liquidation of its assets;
and be it further

                RESOLVED, that, each applicable Governing Body acting with respect to its
applicable Party City Group Company, hereby authorizes and directs each of the Authorized
Persons to (i) commence a bidding and sale process for the Party City Group Companies’ assets
and pursue negotiations with any interested parties regarding a sale of such assets pursuant to
section 363 of the Bankruptcy Code or otherwise and (ii) to initiate store closing sales to liquidate
all of the Party City Group Companies’ retail and wholesale inventory and locations; and be it
further

               RESOLVED, that, each applicable Governing Body acting with respect to its
applicable Party City Group Company, hereby authorizes and directs each of the Authorized
Persons to make, execute, file, and deliver any and all consents, certificates, documents,
instruments, amendments, papers, or writings as may be required in connection with or in
furtherance of any of the foregoing, and to do any and all other acts necessary or desirable to
effectuate the foregoing resolutions, the execution and delivery thereof by such Authorized
Persons to be deemed conclusive evidence of the approval by the applicable Party City Group
Company of the terms, provisions, and conditions thereof; and be it further

               RESOLVED, that any and all past actions heretofore lawfully taken by any
Authorized Person, or any other officers, directors, members or any authorized persons acting
under similar authority, as the case may be, of the applicable Party City Group Company, or the
Governing Body, in the name and on behalf of the applicable Party City Group Company in
furtherance of any or all of the preceding resolutions are hereby ratified, confirmed, adopted, and
approved in all respects; and be it further

               4. General

                RESOLVED, that each of the Authorized Persons be, and each of them
individually hereby is, authorized, directed, and empowered from time to time in the name and on
behalf of each Party City Group Company, to (i) take such further actions and execute and deliver
such certificates, instruments, guaranties, notices, and documents as may be required or as such
Authorized Person or any one of them may deem advisable, appropriate, convenient, desirable, or
necessary to carry out the intent and purpose of the foregoing resolutions, including the execution
and delivery of any security agreements, pledges, financing statements, and the like, (ii) perform
the obligations of each Party City Group Company under the Bankruptcy Code, with all such
actions to be performed in such manner, and all such certificates, instruments, guaranties, notices,
and documents to be executed and delivered in such form, as the Authorized Person performing or
executing the same shall approve, and the performance or execution thereof by such Authorized
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 14 of 21




Person shall be conclusive evidence of the approval thereof by such Authorized Person and by
such Party City Group Company, and (iii) pay fees and expenses in connection with the
transactions contemplated by the foregoing resolutions; and be it further

                 RESOLVED, that all actions previously taken by any director, officer, employee,
manager, member, stockholder, general partner, or agent of any Party City Group Company in
connection with or related to the matters set forth in or reasonably contemplated or implied by the
foregoing resolutions be, and each of them hereby is, adopted, ratified, confirmed, and approved
in all respects as the acts and deeds of such Party City Group Company.



                           [Remainder of page intentionally left blank]
                               Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 15 of 21


Fill in this information to identify the case:
    Debtor name: Party City Holdco Inc., et al                                                                                                                       □ Check if this is an amended filing
  United States Bankruptcy Court for the: Southern District of Texas
  Case number (if known):



Official Form 204

Chapter 11 or Chapter 9: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                       12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the
30 largest unsecured claims.

Name of creditor and complete mailing address,           Name, telephone number, and email address Nature of the claim        Indicate if           Amount of unsecured claim
including zip code                                       of creditor contact                       (for example, trade debts, claim is              If the claim is fully unsecured, fill in only unsecured claim
                                                                                                   bank loans, professional contingent,             amount. If claim is partially secured, fill in total claim amount
                                                                                                   services, and government unliquidated,           and deduction for value of collateral or setoff to calculate
                                                                                                   contracts)                 or disputed           unsecured claim.


                                                                                                                                                                          Deduction for value
                                                                                                                                                      Total claim, if
                                                                                                                                                                            of collateral or  Unsecured Claim
                                                                                                                                                     partially secured
                                                                                                                                                                                 setoff

   ANAGRAM INT INC                                      CHERI DEFRIES
 1 7700 ANAGRAM DR                                      PHONE: 612-949-5600                                     TRADE DEBT                                                                            $6,667,313
   EDEN PRAIRIE, MN 55344                               EMAIL: DEFRIESC@ANAGRAMINTL.COM


                                                        JONAS WU
   KBW GLOBAL CORP                                      GENERAL MANAGER
 2 9832 MAX SHAPIRO WAY                                 PHONE: 626-258-2938                                     TRADE DEBT                                                                           $5,486,856
   SOUTH EL MONTE, CA 91733                             EMAIL: JONAS@KBWCORP.COM


                                                        SCOTT BROWN
   UNIQUE INDUSTRIES,INC                                VP LICENSING & NATIONAL ACCOUNTS
 3 4750 LEAGUE ISLAND BLVD                              PHONE: 215-336-4300                                     TRADE DEBT                                                                            $2,115,094
   PHILADELPHIA, PA 19112                               EMAIL: SBROWN@FAVORS.COM


                                                        MATTHEW D'AURIA
   AGP, LLC                                             CEO
 4 24 VINE STREET                                       PHONE: 339-223-0239                                     TRADE DEBT                                                                           $1,978,542
   EVERETT, MA 02149                                    EMAIL: MATTHEWDAURIA@AGPGAS.COM


                                                        SHAYNA FONTANA
   MCLANE COMPANY LLC                                   NATIONAL ACCOUNT MANAGER
 5 6201 HK DODSEN LOOP NW                               PHONE: 254-771-7490                                     TRADE DEBT                                                                            $1,943,476
   TEMPLE, TX 76502                                     EMAIL: SHAYNA.FONTANA@MCLANECO.COM


                                                        SAADIA ZAKARIN
   KING ZAK INDUSTRIES, INC.                            VP SALES & OPERATIONS
 6 3 POLICE DRIVE                                       PHONE: 845-291-1200 X156                                TRADE DEBT                                                                            $1,943,059
   GOSHEN, NY 10924                                     EMAIL: SZAKARIN@KINGZAK.COM


                                                        JACK HARARI
   M&J TRIMMINGS CO INC                                 DIVISION HEAD
 7 1008 AVE OF THE AMERICAS                             PHONE: 212-704-8028                                     TRADE DEBT                                                                            $1,933,296
   NEW YORK, NY 10018                                   EMAIL: JHARARI@MJTRIM.COM


                                                        LES STIER
   NASSAU CANDY DISTRIBUTORS, INC.                      CEO
 8 530 WEST JOHN ST.                                    PHONE: 800-486-1226                                     TRADE DEBT                                                                           $1,921,126
   HICKSVILLE, NY 11801                                 EMAIL: LES.STIER@WASSANCANDY.COM


                                                        JASON BISHOP
   JOHN TYLER ENTERPRISES INC                           VP OF OPERATIONS
 9 550 CRESCENT BLVD                                    PHONE: 609-206-2521                                     TRADE DEBT                                                                            $1,672,976
   GLOUCESTER CITY, NJ 08030                            EMAIL: JASON.BISHOP@ENTERNEST.COM


                                                        IZZY KRAUS
   KAY GLOBAL GROUP INC
                                                        OWNER
10 1 MIDDLETON ST APT 3R                                                                                        TRADE DEBT                                                                            $1,649,801
                                                        PHONE: 718-306-9773
   BROOKLYN, NY 11206
                                                        EMAIL: IZZY@KAYGRP.COM



   DOORDASH INC
                                                        MOLLY WARNER
11 303 2ND STREET                                                                                               TRADE DEBT                                                                            $1,499,887
                                                        MANAGER, NEW BUSINESS DEVELOPMENT (RETAIL)
   SAN FRANCISCO, CA 94107
                                                        EMAIL: MOLLY.WARNER@DOORDASH.COM
                                Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 16 of 21
Debtor: Party City Holdco Inc., et al.                                                                                                                             Case number (if known) __________

Name of creditor and complete mailing address,   Name, telephone number, and email address Nature of the claim        Indicate if       Amount of unsecured claim
including zip code                               of creditor contact                       (for example, trade debts, claim is          If the claim is fully unsecured, fill in only unsecured claim
                                                                                           bank loans, professional contingent,         amount. If claim is partially secured, fill in total claim amount
                                                                                           services, and government unliquidated,       and deduction for value of collateral or setoff to calculate
                                                                                           contracts)                 or disputed       unsecured claim.


                                                                                                                                                              Deduction for value
                                                                                                                                          Total claim, if
                                                                                                                                                                of collateral or  Unsecured Claim
                                                                                                                                         partially secured
                                                                                                                                                                     setoff

    PRAXAIR DISTRIBUTION INC.                    GARY CONNORS
 12 10 RIVERVIEW DRIVE                           SALES MANAGER                                       TRADE DEBT                                                                          $1,496,725
    DANBURY, CT 06810                            EMAIL: GARY.CONNORS@LINDE.COM


    DAH LOONG DEVELOPMENT                        KEVIN SUN
    8F NO.217 SEC 3 NANJING E RD                 COMPANY OFFICER
 13 ZHONGSHAN DIST.                              PHONE: 886-2506-7155                                TRADE DEBT                                                                          $1,213,690
    TAIPEI,                                      EMAIL: KEVIN@DAHLOONG.COM.TW
    TAIWAN

    AMSCAN ASIA LIMITED (JV)                     HEI LIU
    35/F SAXON TOWER                             IT MANAGER
 14 7 CHEUNG SHUN STREET LAI CHI KOK             PHONE: 852-3655-9220                                TRADE DEBT                                                                           $1,135,126
    KOWLOON,                                     EMAIL: HLIU@AMSCAN.ASIA
    HONG KONG

                                                 BRAD KUSHINSKI
    WORTHINGTON ENTERPRISES INC                  NATIONAL ACCOUNT MANAGER
 15 27406 NETWORK PLACE                          PHONE: 614-840-3953                                 TRADE DEBT                                                                           $1,122,035
    CHICAGO, IL 60673-1274                       EMAIL: BRAD.KUSHINSKI@WTHG.COM



      22SQUARED, INC                             CHRISTINA KENDALL
      1170 PEACHTREE ST NE                       GROUP BUSINESS DIRECTOR
 16                                                                                                  TRADE DEBT                                                                           $1,010,469
      STE 1400                                   PHONE: 404-229-1110
      ATLANTA, GA 30309                          EMAIL: CHRISTINA.KENDALL@22SQUARED.COM


                                                 DANIEL STROLL
    PHILCOS ENTERPRISER USA INC                  VICE PRESIDENT - USA SALES
 17 1501 EAST ROBINSON STREET                    PHONE: 514-777-7357                                 TRADE DEBT                                                                           $967,126
    ORLANDO, FL 32801                            EMAIL: DANIEL.STROLL@PHILCOS.COM


    NINGBO SUNBOW INDUSTRY & TRADE
    NO 7 XIZHUANG INDUSTRY ZONE                  ANDY SHEN
    XINZHUANG VILAGE GAOQIAO TOWN                COMPANY OFFICER
 18                                                                                                  TRADE DEBT                                                                           $961,928
    ZHEJIANG                                     PHONE: 86-574-8817-6015
    NINGBO,                                      EMAIL: ANDI@NBSENBAI.COM
    CHINA

    PINTEREST INC                                NELSON HUDSPETH
 19 651 BRANNAN STREET                           LEAD CLIENT PARTNER                                 TRADE DEBT                                                                           $897,226
    SAN FRANCISCO, CA 94107                      EMAIL: NHUDSPETH@PINTEREST.COM


    ARES HOLDINGS LLC                            PRESIDENT/GENERAL COUNSEL
 20 1045 SOUTH JOHN RODES BLVD                   PHONE: 321-727-2865                                 TRADE DEBT                                                                           $785,701
    MELBOURNE, FL 32904

                                                 RYAN KEATING
    ZEPHYR SOLUTIONS LLC                         CHIEF FINANCIAL OFFICER
 21 1050 LEAR INDUSTRIAL PKWY                    PHONE: 440-937-9993                                 TRADE DEBT                                                                           $753,432
    AVON, OH 44011                               EMAIL: RKEATING@ZEPHYRSOLUTIONS.COM


    DELOITTE CONSULTING LLP                      TRINADHA KANDI
 22 30 ROCKEFELLER PLAZA                         MANAGING DIRECTOR                                   TRADE DEBT                                                                           $727,820
    NEW YORK, NY 10112                           PHONE: 404-631-2814


    NINGBO LILART IMP&EXP CO LTD
    NO.2, 3F, HUACHENG INTL.BLDG                 MENGYU SONG
    611 QINGSHUIQIAO RD,NINGBO HI                ACCOUNT MANAGER
 23                                                                                                  TRADE DEBT                                                                           $707,241
    ZHEJIANG                                     PHONE: 0574-8790-1179
    NINGBO,                                      EMAIL: SALES01@LILART.CN
    CHINA

                                                 CHIP LILLEY
    CONCENTRIX SOLUTIONS CORPORATION             SALES DIRECTOR
 24 201 EAST FOURTH STREET, FLOOR 2              PHONE: 412-512-8635                                 TRADE DEBT                                                                           $668,938
    CINCINNATI, OH 45202                         EMAIL: CHIP.LILLEY@CONCENTRIX.COM


                                                 KAYLEEN WALTERS & LUKE MADDEN
    MICROSOFT ONLINE INC                         VP, FRANCHISE DEVELOPMENT & GO-TO-MARKET
 25 1 MICROSOFT WAY                              STRATEGY LEAD                                       TRADE DEBT                                                                           $590,562
    REDMOND, WA 98052                            PHONE: 469-775-5000
                                                 EMAIL: KAYLEEN.WALTERS@MICROSOFT.COM




Official Form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                        Page 2
                                Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 17 of 21
Debtor: Party City Holdco Inc., et al.                                                                                                                             Case number (if known) __________

Name of creditor and complete mailing address,   Name, telephone number, and email address Nature of the claim        Indicate if       Amount of unsecured claim
including zip code                               of creditor contact                       (for example, trade debts, claim is          If the claim is fully unsecured, fill in only unsecured claim
                                                                                           bank loans, professional contingent,         amount. If claim is partially secured, fill in total claim amount
                                                                                           services, and government unliquidated,       and deduction for value of collateral or setoff to calculate
                                                                                           contracts)                 or disputed       unsecured claim.


                                                                                                                                                              Deduction for value
                                                                                                                                          Total claim, if
                                                                                                                                                                of collateral or  Unsecured Claim
                                                                                                                                         partially secured
                                                                                                                                                                     setoff

    ROCKY-TAFU                                   MIKE TSAI
    20, KANG SHAN NORTH ROAD                     COMPANY OFFICER
 26 GANGSHAN DIST                                PHONE: 886-7622-7343                                TRADE DEBT                                                                           $513,086
    KANG-SHAN TOWNSHIP, KAOHSIUNG,               EMAIL: ROCKY.TAFU@MSA.HINET.NET
    TAIWAN

    FESTA (GUANGZHOU) CO., LTD                   EDWARD LEE
    FLOOR 18 PARK LANE BUS CTR 498               COMPANY OFFICER
 27 HUANSHI ROAD EAST                            PHONE: 862-0-8762-2123                              TRADE DEBT                                                                           $508,396
    GUANGZHOU, GD                                EMAIL: EDWARD@FESTA.CN
    CHINA

                                                 FREDA ROSE
    FORPLAY INC                                  NATIONAL SALES REPRESENTATIVE
 28 6921 VALJEAN AVE                             PHONE: 323-435-3358                                 TRADE DEBT                                                                           $501,864
    VAN NUYS, CA 91406                           EMAIL: FREDA@FORPLAYINC.COM


      MJC INTERNATIONAL                          HOLLY PRICE
      365 SOUTH SPRUCE AVE                       ACCOUNT MANAGER
 29                                                                                                  TRADE DEBT                                                                           $492,840
      FLOOR 2                                    EMAIL: HOLLY.PRICE@GOMJC.COM
      SAN FRANCISCO, CA 94080


    LEAF EXECUTION INC                           KYLE BROMAN
 30 1350 TEXAS STREET                            PHONE: 847-274-5822                                 TRADE DEBT                                                                           $481,744
    GARY, IN 46402                               EMAIL: KYLE@LEAF-EX.COM




Official Form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                        Page 3
                       Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 18 of 21




Fill in this information to identify the case:

Debtor name         Party City Corporation

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Consolidated Corporate Ownership Statement and List of Equity Interest
                                                                Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       12/21/2024                         X /s/ Deborah Rieger-Paganis
                                                            Signature of individual signing on behalf of debtor

                                                            Deborah Rieger-Paganis
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 19 of 21




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    PARTY CITY HOLDCO INC., et al.,
                                               1
                                                                   )   Case No. 24-[●] ([●])
                                                                   )
                              Debtors.                             )   (Joint Administration Requested)
                                                                   )   (Emergency Hearing Requested)

     CORPORATE OWNERSHIP STATEMENT PURSUANT TO FED. BANKR. P. 7007.1

             Pursuant to rule 7007.1 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Party City Holdco Inc. (“PCHI”) and its debtor affiliates, as debtors and debtors in

possession (collectively, the “Debtors”), respectfully represent as follows:

             1.       PCHI is the ultimate parent of each of the Debtors.                The following are all

corporations, other than the debtor or a governmental unit, that directly or indirectly own 10% or

more of any class of PCHI’s equity interests:

                     Capital Group/American Funds
                      333 South Hope Street
                      55th Floor
                      Los Angeles, CA 90071

                     Davidson Kempner
                      520 Madison Ave, Floor 30
                      New York, NY 10022

                     Silver Point Capital
                      2 Greenwich Plaza, 1st Floor
                      Greenwich, CT 06830




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Party City Holdco Inc. (9758); Amscan Inc. (1359); Am-Source, LLC (8427); Party City Corporation
(3692); Party City Holdings Inc. (3029); PC Intermediate Holdings, Inc. (1229); and Trisar, Inc. (0659). The location
of the Debtors’ service address for purposes of these chapter 11 cases is: 100 Tice Boulevard, Woodcliff Lake, New
Jersey 07677.



                                                         1
        Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 20 of 21




       2.       The following is an organizational list reflecting all of the ownership interests in

PCHI’s Debtor affiliates, each of which is 100% owned by its direct parent.

                                                            Percentage
                                                                           Last Known Address
        Debtor                   Equity Holder(s)               of
                                                                            of Equity Holder
                                                            Ownership
                                                                           100 Tice Blvd.
 Amscan Inc.              Party City Holdings Inc.          100%           Woodcliff Lake, NJ
                                                                           07677
                                                                           100 Tice Blvd.
 Am-Source, LLC           Party City Holdings Inc.          100%           Woodcliff Lake, NJ
                                                                           07677
                                                                           100 Tice Blvd.
 Party City
                          Party City Holdings Inc.          100%           Woodcliff Lake, NJ
 Corporation
                                                                           07677
                                                                           100 Tice Blvd.
 Party City Holdings      PC Intermediate Holdings,
                                                            100%           Woodcliff Lake, NJ
 Inc.                     Inc.
                                                                           07677
                                                                           100 Tice Blvd.
 PC Intermediate
                          Party City Holdco Inc.            100%           Woodcliff Lake, NJ
 Holdings, Inc.
                                                                           07677
                                                                           100 Tice Blvd.
 Trisar, Inc.             Party City Holdings Inc.          100%           Woodcliff Lake, NJ
                                                                           07677


                                [Remainder of Page Intentionally]




                                                 2
       Case 24-90619 Document 1 Filed in TXSB on 12/21/24 Page 21 of 21




Dated: December 21, 2024

                                    Respectfully submitted,

                                    By: /s/ John F. Higgins
                                    PORTER HEDGES LLP
                                    John F. Higgins (TX Bar No. 09597500)
                                    Aaron J. Power (TX Bar No. 24058058)
                                    M. Shane Johnson (TX Bar No. 24083263)
                                    Jordan T. Stevens (TX Bar No. 24106467)
                                    Grecia V. Sarda (TX Bar No. 24132092)
                                    1000 Main St., 36th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 226-6000
                                    Facsimile: (713) 226-6248
                                    jhiggins@porterhedges.com
                                    apower@porterhedges.com
                                    sjohnson@porterhedges.com
                                    jstevens@porterhedges.com
                                    gsarda@porterhedges.com

                                    - and -

                                    PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    Kenneth S. Ziman (pro hac vice pending)
                                    Christopher Hopkins (pro hac vice pending)
                                    Stephanie P. Lascano (pro hac vice pending)
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Telephone: (212) 373-3000
                                    Facsimile: (212) 757-3990
                                    kziman@paulweiss.com
                                    chopkins@paulweiss.com
                                    slascano@paulweiss.com

                                    Proposed Co-Counsel to the Debtors and the
                                    Debtors in Possession




                                       3
